                                                                     Case 4:24-cv-00068-CKJ      Document 43          Filed 06/16/25   Page 1 of 2




                                                                 1   GILLESPIE, SHIELDS & TAYLOR
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                                                                 2
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                                                                     Jenny D. Jansch, Bar No. 024431
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                                                                     E-Mail: jjansch@gillaw.com
                                                                 7
                                                                     Attorneys for Plaintiff
                                                                 8
                                                                     Send all Court Documents to: mailroom@gillaw.com
                                                                 9
                                                                10                        IN THE UNITED STATES DISTRICT COURT
Telephone (Mesa): (480)-985-4000 ♦ Fax (Mesa): (480) 985-7552
  1630 S. Stapley Drive, Suite 212, Mesa, Arizona 85204




                                                                                          IN AND FOR THE DISTRICT OF ARIZONA
                                                                11
      7319 North 16th Street, Phoenix, Arizona 85020

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                                                                12
                                                                     Kristen L. Becker,                                Case No. 4:24-cv-00068-CKJ
               GILLESPIE, SHIELDS & TAYLOR




                                                                13
                                                                                                        Plaintiff,
                                                                14
                                                                15                         vs.                                NOTICE OF SERVICE
                                                                16
                                                                     Graham County Community College
                                                                17   District - Eastern Arizona College; Graham
                                                                18   County Community College District Board

                                                                19                                    Defendant.
                                                                20
                                                                21
                                                                22         NOTICE IS HEREBY given that Plaintiff on this day served the following
                                                                23   documents on Defendant:
                                                                24
                                                                           1. Plaintiff’s First Request for Production of Documents; and
                                                                25
                                                                           2. Plaintiff’s First Set of Non-Uniform Interrogatories.
                                                                26
                                                                27
                                                                     ///
                                                                28
                                                                                                                  1
                                                                     Case 4:24-cv-00068-CKJ      Document 43       Filed 06/16/25   Page 2 of 2




                                                                 1         RESPECTFULLY SUBMITTED this 16th day of June 2025.
                                                                 2
                                                                                                             GILLESPIE, SHIELDS & TAYLOR
                                                                 3
                                                                                                             By:
                                                                 4                                                   DeeAn Gillespie Strub
                                                                 5                                                   Jenny D. Jansch
                                                                                                                     Attorneys for Plaintiff
                                                                 6
                                                                 7
                                                                 8
                                                                                                CERTIFICATE OF SERVICE
                                                                 9
                                                                10         I, Jenny D. Jansch, certify that on this 16th day of June, 2025 the forgoing Notice
Telephone (Mesa): (480)-985-4000 ♦ Fax (Mesa): (480) 985-7552
  1630 S. Stapley Drive, Suite 212, Mesa, Arizona 85204




                                                                11   of Service of Discovery was efiled and served upon Defendant’s counsel of record via the
      7319 North 16th Street, Phoenix, Arizona 85020

      Telephone: (602) 870-9700 ♦ Fax: (602) 870-9783




                                                                12   Court’s CM/ECF system.
               GILLESPIE, SHIELDS & TAYLOR




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